8:05-cr-00086-RGK-DLP        Doc # 87   Filed: 09/13/05   Page 1 of 1 - Page ID # 366




                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          8:05CR86
                                          )
                    Plaintiff,            )
                                          )
      vs.                                 )
                                          )          ORDER
NICHOLE F. FRYE,                          )
                                          )
                    Defendant.            )

      IT IS ORDERED that:

      (1)    The parties’ joint oral motion to continue sentencing is granted;

      (2) Defendant Nichole Frye’s sentencing is continued to Monday, October
31, 2005, at 12:30 p.m., before the undersigned United States District Judge, in
Courtroom No. 1, Robert V. Denney Federal Building and United States Courthouse,
Lincoln, Nebraska. Since this is a criminal case, the defendant shall be present unless
excused by the court.

      September 13, 2005.                     BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
